                                           CLERK’S MINUTE SHEET
                                   IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                       Before the Honorable Steven C. Yarbrough
                                             Arraignment/Detention Hearing
Case Number:              21-MJ-1376                              UNITED STATES vs. THOMAS
Hearing Date:             9/15/2021                               Time In and Out:          10:03 am – 10:09 am
Courtroom Deputy:         K. Dapson                               Digital Recording:        Hondo
Defendant:                Dominic Thomas                          Defendant’s Counsel:      Todd Bullion
AUSA:                     Rumaldo Armijo                          Pretrial/Probation:       M. Pirkovic
Interpreter:
Proceedings
☐     First Appearance by Defendant
☐     Defendant waived appearance at Arraignment
☒     Defendant received a copy of charging document
☒     Defendant questioned re: time to consult with attorney regarding penalties
☒     Defendant waives reading of Indictment
☒     Defendant enters a Not Guilty plea
☒     Motions due by: Tuesday, October 05, 2021
                                                                                            Discovery Order not entered;
      Parties agree Standing Discovery             Discovery Order previously
☒                                          ☐                                            ☐   parties to confer pursuant to Rule
      Order to be electronically entered           entered
                                                                                            16.1(a) within 14 days
☒     Case assigned to: Judge Yarbrough
☒     Trial will be scheduled by presiding judge                  ☐ Trial currently set
☐     Defendant waives Detention Hearing
Custody Status
      Defendant remanded to custody of United States
☒     Marshal's Service
                                                                  Pending placement at La Pasada Halfway House

☐     Conditions
Other
☒     Defendant waives personal presence at hearing/Court accepts Defendant’s waiver
☐     Pursuant to the Due Process Protections Act, Court confirms the United States obligation to produce all exculpatory
      evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so.
      USA-proffers; Bullon-proffers; Court questions/findings
